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   V.ROY LEFCOURT (SBN 49950)
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 2 (415) 776-0207

 3
   Attorney for Defendant
 4 FRANCES ALIGANGA

 5
                                     UNITED STATES OF AMERICA
 6
                                NORTHERN DISTRICT OF CALIFORNIA
 7
                                          OAKLAND DIVISION
 8

 9
     UNITED STATES OF AMERICA,                    ) No.: CR05-00454 CW
10                                                )
               Plaintiff,                         )
11                                                ) STIPULATION TO TRAVEL
          v.                                      ) TO THE EASTERN DISTRICT
12                                                )
13 FRANCES ALIGANGA,                              )
                                                  )
14             Defendant.                         )
                                                  )
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16

17             GOOD CAUSE APPEARING, it is hereby stipulated between the undersigned parties that

18 defendant Frances Aliganga be permitted to leave the Cornell Halfway House at 9:00 a.m. on

19 Thursday, November 24, 2005 and travel to the Eastern District to spend the Thanksgiving

20
     Holiday with her family located at 1040 Evergreen Court, Fairfield, California and to return to the
21
     Cornell Halfway House no later than 9:00 p.m. This request has been approved by pretrial service
22
     officer Steven Sheehan.
23

24
     SO STIPULATED.
25
     //
26
     //



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     DATED: November 21, 2005            Respectfully submitted,
 1

 2
                                         /s/ V.Roy Lefcourt____________
 3                                       V.ROY LEFCOURT
                                         Attorney for Defendant
 4                                       FRANCES ALIGANGA
 5

 6 DATED: November 22, 2005
                                         _/s/ Douglas Sprague with permission
 7                                       DOUGLAS SPRAGUE
                                         Assistant United States Attorney
 8
                                                                     S DISTRICT
                                                                   TE           C
 9                                                               TA




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10                                                                     O ORD
                                                                IT IS S




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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
11                                                                             ayne D.
                                                                                         Brazil




                                                       NO
                                                                     Judge W




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                                                        RT
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13 DATED: November 23, 2005              ___________________________________
                                         HONORABLE WAYNE D. BRAZIL
14                                       UNITED STATES MAGISTRATE JUDGE
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